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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

TIKTOK INC., BYTEDANCE LTD.,

             Plaintiffs,

                    v.

DONALD J. TRUMP, in his official capacity as       Civil Case No. 20-cv-2658
President of the United States, WILBUR L.
ROSS, JR., in his official capacity as Secretary
of Commerce, UNITED STATES
DEPARTMENT OF COMMERCE,

              Defendants.



BRIEF OF AMICUS CURIAE NETCHOICE IN SUPPORT OF PLAINTIFFS




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                              STATEMENT OF INTEREST

       NetChoice1 is a national trade association of leading e-commerce and online

businesses that share the goal of promoting convenience, choice, and commerce on

the internet. NetChoice zealously defends American free enterprise and free

expression from threats both foreign and domestic. At the same time, NetChoice

believes that any online technology that actually undermines the United States’

national security or consumer privacy should not be allowed to operate in the

United States. We wish to address the First Amendment rights of freedom of speech

and assembly and the dangerous precedent being set by the executive order issued

on August 6, 2020,2 and the Commerce Department’s regulations implementing it 3.

       By completely banning U.S. access to TikTok, the Government’s actions

directly infringe upon the First Amendment rights of over 90 million U.S. users of

one of the most popular social media platforms in America. The question before the

Court is whether that infringement is a necessary cost of meeting overriding




1 Amicus is a 501(C)(6) trade association based in Washington, D.C. As publicly disclosed on its
website, NetChoice.org, amicus counts among its members nearly all of the leading tech companies
in the United States, including TikTok Inc., a party in this case. NetChoice states that it has no
parent company and that no publicly held company has 10% or greater ownership in NetChoice.
No party or counsel for a party in this pending case authored the proposed amicus curiae brief in
whole or in part or made a monetary contribution intended to fund the preparation or submission of
the proposed brief. No person or entity other than the amicus, its members, or its counsel made a
monetary contribution intended to fund the preparation or submission of the proposed brief.
2 White House, Executive Order on Addressing the Threat Posed by TikTok (Aug. 6, 2020),

https://www.whitehouse.gov/presidential-actions/executive-order-addressing-threat-posed-tiktok/
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3 U.S. Dep’t of Commerce, Identification of Prohibited Transactions to Implement Executive Order

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requirements of U.S. national security.

          Based on its background and experience with free speech and commerce

online, amicus is able to provide information that is important to the Court in

answering that question.4

                                  SUMMARY OF ARGUMENT

          The actions taken by the White House and the Department of Commerce

(together, the “Government’s actions”) in this case are so unnecessarily broad that

they fail the First Amendment requirement to employ the least-restrictive means of

achieving the competing government aims of national security. Today, according to

media reports of Central Intelligence Agency findings5, no data on American users

of TikTok is stored in or been shared with China. The Administration has thus far

provided no evidence to the contrary, nor has it provided evidence that China’s

Communist Party or military have acquired data on TikTok’s users in the United

States.

          To the extent that the Administration may provide the court with classified

information bearing on these questions that it cannot share with the public, that

information must be of sufficient probity, weight, and certitude to warrant sweeping

aside the significant First Amendment interests. Otherwise, the lack of evidence—

and the breadth of the proposed ban on a social media platform that would curtail

access for nearly a quarter of the U.S. population—leads to the conclusion that the


4   The brief complies with this Court’s standing order and does not exceed the page limit.
5See, e.g., David E. Sanger & Julian E. Barnes, Is TikTok More of a Parenting Problem Than a
Security Threat?, N.Y. TIMES (last updated Aug. 7, 2020),
https://www.nytimes.com/2020/08/07/us/politics/tiktok-security-threat.html.

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Government’s actions fail to meet the requirement of narrow tailoring as set forth in

applicable Supreme Court precedents.

      The Government’s actions are unprecedented in scope. There is no previous

example in U.S. history of a complete ban of a media platform that directly deprives

a quarter of the U.S. population access to information on that platform. Neither is

there any precedent for depriving so many Americans of their opportunity to

express themselves on that medium. As outlined below, the needless breadth of the

Government’s actions leaves open the opportunity to employ far less restrictive

means to achieve its objectives. Because less-restrictive means are available to

vindicate the Administration’s national security concerns, the Government’s actions

should not be implemented as proposed.

                                    ARGUMENT

      The Government’s actions deprive all U.S. citizens of access they currently

enjoy to one of the leading social media platforms in America, and as such these

actions necessarily infringe upon the First Amendment rights of all U.S. citizens.

That infringement rises to the level of a First Amendment violation because the

Government’s actions are not narrowly tailored to accommodate First Amendment

interests.

      Beyond directly impacting the ability of U.S. citizens to access TikTok, and to

express themselves on this social media platform, the Government’s actions also cut

off the ability of U.S. companies to host, and of U.S. developers to use, TikTok’s

coding and related infrastructure. Furthermore, by inviting not only retaliation

from China but also emulation from other nations, the Government’s actions pave
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the way for more widespread restrictions on U.S.-based social media platforms that

currently address a global audience.

      The Government must be granted a certain amount of leeway “when seeking

to prevent imminent harms in the context of international affairs and national

security.” Holder v. Humanitarian Law Project, 561 U.S. 1, 35 (2010). But no

imminent harm has been identified by the Government; instead, it has identified

only potential harm not established by evidence before the Court.

      1. The Government’s Regulations Violate the First Amendment
         Rights of Existing and Future TikTok Users in the United States.

      The Government’s unprecedented step of blocking all access to TikTok in the

United States starting November 12, and the restrictions currently in place, directly

impinge upon the First Amendment rights of the platform’s over 90 million U.S.

users. “A fundamental principle of the First Amendment is that all persons have

access to places where they can speak and listen.” Packingham v. North Carolina,

137 S. Ct. 1730, 1735 (2017). Today the most important place for most Americans to

speak and listen “is cyberspace—the ‘vast democratic forums of the Internet’ in

general, and social media in particular.” Id. (quoting Reno v. American Civil

Liberties Union, 521 U.S. 844, 868 (1997)). For more than 90 million Americans—

over a quarter of the total population of the United States—that forum is TikTok.

But the Government seeks to evict these 90 million Americans from TikTok and

shut down their forum entirely.

      When it comes to digital platforms, courts “must exercise extreme caution

before suggesting that the First Amendment provides insufficient protection for


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access to vast [digital] networks.” Id. Moreover, TikTok’s reach, and the breadth of

its use by Americans, extends far beyond the traditional “quintessential forum” for

free speech—a geographically limited place used by “the individual on a soapbox

and the lonely pamphleteer.” Citizens United v. FEC, 558 U.S. 310, 373 (2010)

(Roberts, C.J., concurring). TikTok is a nationwide place for over 90 million

Americans “to engage in a wide array of protected First Amendment activity.”

Packingham, 137 S. Ct. at 1736 (citing Reno, 521 U.S. at 870). Its users can reach

millions in an instant. This has made TikTok a platform for “millions of young

Americans,” for whom it is a venue not only for entertainment but for “ideological

formation” and “political activism.”6

          TikTok’s short, simple videos have become a widely used format for “youth

political expression.” 7 Its users range from a “liberal activist community” to “plenty

of conservative[,] pro-Trump voices.” 8 Many videos pack a powerful punch, touching

on everything from gun rights to police brutality.

          Wholesale blocking of all U.S. citizens’ access to this public forum is an

extreme remedy, one that must be justified against the countervailing First

Amendment interests it implicates. The Supreme Court’s guidance on such matters

is clear. There is modest allowance for restrictions on public forums, so long as those

restrictions are “narrowly tailored to serve a significant governmental interest.”




6John Herrman, TikTok Is Shaping Politics. But How?, N.Y. TIMES (June, 28, 2020),
https://www.nytimes.com/2020/06/28/style/tiktok-teen-politics-gen-z.html.
7   Id.
8   Id.

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McCullen v. Coakley, 573 U.S. 464, 477 (2014). Inasmuch as national security is a

significant governmental interest, meeting this test requires only that the

Government’s actions are narrowly tailored. But here they are not.

      Far short of banning an entire forum used by nearly a quarter of the U.S.

population, the Government can use other tools in its toolkit to address the specific

national security concerns it has identified. These include the power of the

Committee on Foreign Investment in the United States to appoint a special master

to monitor compliance with data privacy protections; the power to force extensive

revisions of TikTok policies and processes; and the power to force divesture of

foreign ownership. Because the Government has prematurely chosen to require a

divestiture—a process that has not been allowed to finish—the imposition of a

wholesale ban on U.S. citizen access to TikTok appears especially overbroad in this

context.

      The unprecedented step of banning a public forum used by over 90 million

Americans will cut off access to a significant amount of user-created political

content. It will deprive millions of Americans of a favored vehicle for targeting a

younger audience with political speech and advocacy campaigns. Measured against

alternative and less-restrictive means at the Government’s disposal, such a broad

speech ban “burden[s] substantially more speech than is necessary to further the

government’s legitimate interests.” Id. at 486 (quoting Ward v. Rock Against

Racism, 491 U.S. 781, 799 (1989) (internal quotation marks omitted)).




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       In sum, the Government’s actions are overbroad, insufficiently sensitive to

the constitutional rights of U.S. citizens, and for these reasons—barring the

emergence of new evidence in the form of classified information the Court finds

negates the evidence currently before it—violative of the First Amendment. The

national security concerns the Government has expressed may be addressed

through less-restrictive means that would simultaneously protect the First

Amendment rights of U.S. users of TikTok.

       2. The Government’s Regulations Violate the First Amendment
          Rights of U.S. Companies and Developers.

       The Government’s actions infringe upon First Amendment interests beyond

those of TikTok’s users. The Government’s actions extend to prohibiting all U.S.

persons from hosting or using TikTok’s code in any manner. Under Department of

Commerce regulations, U.S. companies are prohibited from offering “[a]ny provision

of service to distribute or maintain the WeChat or TikTok mobile applications,

constituent code, or application updates through an online mobile application store

in the U.S.” 9 And U.S. developers are prohibited from “[a]ny utilization of the

mobile application’s constituent code, functions, or services in the functioning of

software or services developed and/or accessible within the U.S.” 10




9 U.S. Dep’t of Commerce, Identification of Prohibited Transactions to Implement Executive Order
13942 and Address the Threat Posed by TikTok and the National Emergency with Respect to the
Information and Communications Technology and Services Supply Chain (Sept. 24, 2020),
https://www.federalregister.gov/documents/2020/09/24/2020-21193/identification-of-prohibited-
transactions-to-implement-executive-order-13942-and-address-the-threat.
10 Id.


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      These regulations are content based on their face, “[b]ecause computer source

code is an expressive means for the exchange of information and ideas about

computer programming [that] is protected by the First Amendment.” Junger v.

Daley, 209 F.3d 481, 485 (6th Cir. 2000). And because coding is protected speech

and because the regulations specifically target coding, the regulations are

“presumptively unconstitutional and may be justified only if the government proves

that they are narrowly tailored to serve compelling state interests.” See Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015).

      The Government’s actions are not narrowly tailored. All U.S. companies and

developers are prohibited from using TikTok’s “constituent code, functions, or

services” for any purpose—even when doing so supports the Government’s goal of

protecting the data of U.S. users. Indeed, the Government’s actions would prevent

existing U.S. users of TikTok from obtaining security updates for their apps from

trusted U.S. sources because third-party businesses in the U.S. would be prohibited

from hosting or offering any TikTok software updates. And because security

updates from trusted U.S. sources would make the app more secure, the

overbreadth of the Government’s actions undermines the Government’s own goal.

More narrowly tailored regulations would not so interfere with the ability of U.S.

third parties to make security improvements that are in U.S. consumers’ best

interests.

      Likewise, the Government’s actions violate the rights of developers, whose

coding is, as noted above, protected under the First Amendment. The Commerce



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regulations prohibit any use of TikTok’s code by U.S. developers. This means that

U.S. developers who are not in any manner connected to China or the PRC

government would not be able to create software that incorporates even a small

amount of such code, even if the purpose and effect of their development work was

to ensure that all U.S. security concerns are met.11 By making TikTok’s code

entirely off-limits, and by foreclosing even cybersecurity efforts aimed at ensuring

the code is free of harmful elements, the regulations are far more restrictive than

called for; indeed they are counterproductive.

       The Government’s actions also create a dangerous precedent. The prohibition

on any use of TikTok code by U.S. developers for any purpose is effectively a ban on

the building blocks of digital free expression. From the standpoint of the First

Amendment rights of Americans, it is tantamount to banning the use of certain

letters of the alphabet: while the Government is not banning language outright, it is

most definitely curtailing communication. Beyond violating the First Amendment

rights of developers, the Government’s actions threaten to put all social media users

at risk.

       3. The Government’s Actions Risk Collateral Damage to First
          Amendment Interests, Including from Foreign Governments Well
          Beyond China.

       The Government’s actions invite not only retaliation from China, but also



11According to media reports, Secretary of Commerce Wilbur Ross described the prohibitions set to
take effect September 27 this way: “As to TikTok, it’s just upgrades, maintenance[,] things like that,
that would be shut down at this stage. The real shutdown would come after Nov. 12.” See Steve
Kovach, Trump to Block Downloads of TikTok, WeChat on Sunday, CNBC (last updated Sept. 18,
2020 at 3:46PM), https://www.cnbc.com/2020/09/18/trump-to-block-us-downloads-of-tiktok-wechat-
on-sunday-officials-tell-reuters.html.

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emulation by other nations. Although the Government may not intend these

consequences, and although it cannot eliminate all risk, its actions here entail far

more risk of unintended consequences than would result if its actions were narrowly

tailored to accommodate the First Amendment rights of U.S. citizens. Chief among

these unintended consequences is the likelihood that foreign governments will point

to the Government’s actions here as justification for banning or restricting the

activities of U.S. internet businesses, including U.S.-based social media platforms

on which most of the U.S. citizenry relies.

      This is a particularly worrisome aspect of the Government’s actions, given

that the world’s leading social media companies are U.S. firms, with many more

millions of users than TikTok. These U.S. firms operate domestically and abroad.

The opportunities for First Amendment-protected expressive activity they offer

include connecting millions of Americans with their family, friends, and peers

across the nation and around the world.

      The European Union, and also individual member states, could follow the

precedent of the Government’s actions in this matter to use allegations and

suspicions over data privacy or national security as justification for restricting U.S.

social media platforms in Europe. This could include banning or restricting the use

of U.S. social media platforms by individuals and restricting advertising on

American social media platforms. Similarly, the precedent of using allegations and

suspicions over data privacy or national security could be used as justification for




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forcing divestitures to European owners, following the pattern of the Government’s

actions in this case.

       These are very real concerns. Several nations have already sought to impose

limits on data flows to American technology businesses. The justification has often

been the potential for security and privacy threats, rather than evidence-based

concerns. In many cases, addressing the imagined “concerns” empowered foreign

governments to receive financial benefits, as well as better surveillance of their

citizens’ online expressive activities.

       An example of the kinds of anti-free speech activity the Government’s actions

risk encouraging are the so-called “data localization laws” that the United States

opposes.12 These data localization laws prohibit the transfer of citizen data outside

of the nation. Some years ago, several nations including Russia and Indonesia

enacted data localization laws.13 Couched as responses to “security” and “privacy”

threats, these data localization laws in fact facilitated rent-seeking and

governmental control. The power to ban data transfers because of “security and

privacy concerns” provided a financial windfall in the form of new data center

construction; it also provided the power to better surveil communications of the

citizenry, as platforms willing to share user data with the government were

permitted.



12See, e.g., Aditya Kalra, Exclusive: U.S. Senators Urge India to Soften Data Localization Stance,
REUTERS (Oct. 13, 2018), https://www.reuters.com/article/us-india-data-localisation-
exclusive/exclusive-u-s-senators-urge-india-to-soften-data-localization-stance-idUSKCN1MN0CN.
13See Albright Stone Group, Data Localization: A Challenge to Global Commerce (Sept. 2015),
https://www.albrightstonebridge.com/files/ASG%20Data%20Localization%20Report%20-
%20September%202015.pdf.

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       Such data localization efforts are now extending to the European Union.

Recently, European countries began blocking U.S. tech businesses from transferring

European citizens’ data to the United States. The stated concern is privacy, but the

precedent established by the Government’s actions here can serve as justification

for blocking American technology businesses’ access—and hence U.S. citizens’ free

speech—in European markets.

       The end result of the Government’s actions is to inadvertently provide foreign

nations with new justifications for preventing American technology businesses from

accessing foreign markets. It would be a sad irony if the United States, which

traditionally has relied upon open debate and due process, were to become more like

China as a result of its effort to protect our nation’s citizens from the PRC.14

       The United States’ historical encouragement of the global free flow of data

has been a beacon of justice and individual freedom, and a bulwark for individual

resistance to repressive government activities around the world. It has provided the

free world with uniquely valuable information from inside nations that do not

respect free speech or other human rights. Consistent with the U.S. commitment to

the global free flow of information, threats to citizen privacy or national security

because of data transfers have been dealt with on an evidentiary basis. The

Government’s actions, in contrast, appear to be based not on evidence but on

suspicion and theory. In this respect, as well, the Government’s actions are

overbroad and thus violative of the First Amendment.


14See Will Rinehart, Don’t Ban TikTok Before A Public Trial, DAILY CALLER (Aug. 12, 2020),
https://dailycaller.com/2020/08/12/rinehart-dont-ban-tiktok-before-a-public-trial/.

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                                     CONCLUSION

          For these reasons, NetChoice supports the Plaintiffs’ request for Injunctive

Relief.

          September 26, 2020              By: /s/Jacob A. Sommer
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